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                    UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII

U.S. EQUAL EMPLOYMENT                  ) Case No.:
                                       )
OPPORTUNITY COMMISSION,                )
                                       ) COMPLAINT—ADA
            Plaintiff,                 )
                                       ) • Denial of Reasonable
                                       )       Accommodation
      vs.                              )
                                       )
                                       )
ORI ANUENUE HALE, INC.;                ) JURY TRIAL DEMAND
                                       )
OPPORTUNITIES AND                      )
RESOURCES, INC.; and Does 1-5          )
Inclusive,                             )
                                       )
           Defendant(s).               )


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                          NATURE OF THE ACTION

      This is an action under Title I of the Americans with Disabilities Act of 1990

(“ADA”), as amended by the ADA Amendments Act (“ADAAA”) of 2008 and

Title I of the Civil Rights Act of 1991 to correct unlawful employment practices on

the basis of disability and to provide appropriate relief to Charging Parties

Sokunthea Prak, Eulalia Pelep, Joyce Richard-White, Jyra Cutler, and Myer

Alokoa (collectively, “Charging Parties”), qualified individuals with disabilities,

and a class of similarly aggrieved deaf employees (with Charging Parties

collectively, “Claimants”) who were adversely affected by such practices.

      As set forth with greater particularity in paragraphs 19 to 43 of this

Complaint, Plaintiff United States Equal Employment Opportunity Commission

(“Plaintiff” or “Commission”) alleges that Defendants ORI Anuenue Hale, Inc.

(“ORI Anuenue Hale”) and Opportunities and Resources, Inc. (“ORI”),

(collectively, “Defendants”) unlawfully discriminated against a class of deaf

janitorial and custodial employees with limited English proficiencies by failing to

effectively engage in the interactive process, denying Charging Parties and

Claimants reasonable accommodations, and in so doing, denying Charging Parties

and Claimants the same benefits and privileges of employment as their non-

disabled co-workers in violation of Section 102 of the ADA, 42 U.S.C. §12112.

Specifically, Defendants denied Charging Parties the reasonable accommodation of


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sign language interpreters at staff meetings. As a result, the class of deaf

employees was denied the benefit and privilege of fully understanding the content

of these meetings, while non-disabled employees were able to access the full

content of these meetings. Plaintiff further alleges that Defendants failed to

effectively engage in the interactive process to identify other reasonable

accommodations for the class of deaf employees including, but not limited to

providing sign language interpreters. Instead, Defendants ignored the deaf

employees’ repeated requests for sign language interpreters and arbitrarily decided

that written notes, handouts, and occasional sign language interpretation would

suffice at these meetings.

                         JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343 and 1345. This action is authorized and instituted pursuant to

Section 107(a) of the ADA, 42 U.S.C. §12117(a), which incorporates by reference

Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title

VII”), 42 U.S.C. §§ 2000e-5(f)(1) and (3) and pursuant to Section 102 of the Civil

Rights Act of 1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were and are now

being committed within the jurisdiction of the United States District Court for the

District of Hawaii.


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                                    PARTIES

      3.    Plaintiff, the Equal Employment Opportunity Commission, is an

agency of the United States of America charged with the administration,

interpretation and enforcement of Title I of the ADA, and is expressly authorized

to bring this action by Section 107(a) of the ADA, 42 U.S.C. §12117(a), which

incorporates by reference Sections 706(f)(1) and (3) of Title VII, 42 U.S.C.

§§2000e-5(f)(1) and (3).

      4.    At all relevant times, Defendant ORI Anuenue Hale, Inc. has

continuously been a non-profit corporation doing business in the State of Hawaii

and has continuously had at least fifteen (15) employees.

      5.    At all relevant times, Defendant ORI Anuenue Hale, Inc. has

continuously been an employer engaged in an industry affecting commerce under

Section 101(5)(A) of the ADA, 42 U.S.C. §12111(5)(A), and Section 101(7) of the

ADA, 42 U.S.C. §12111(7), which incorporates by reference Sections 701(g) and

(h) of Title VII, 42 U.S.C. §§2000e(g) and (h).

      6.    At all relevant times, Defendant ORI Anuenue Hale, Inc. has been a

covered entity under Section 101(2) of the ADA, 42 U.S.C. §12111(2).

      7.    At all relevant times, Defendant Opportunities and Resources, Inc. has

continuously been a non-profit corporation doing business in the State of Hawaii

and has continuously had at least fifteen (15) employees.


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      8.    At all relevant times, Defendant Opportunities and Resources, Inc. has

continuously been an employer engaged in an industry affecting commerce under

Section 101(5)(A) of the ADA, 42 U.S.C. §12111(5)(A), and Section 101(7) of the

ADA, 42 U.S.C. §12111(7), which incorporates by reference Sections 701(g) and

(h) of Title VII, 42 U.S.C. §§2000e(g) and (h).

      9.    At all relevant times, Defendant Opportunities and Resources, Inc. has

been a covered entity under Section 101(2) of the ADA, 42 U.S.C. §12111(2).

      10.   Defendants are Hawaii non-profit corporations that operate as a

vocational training and job placement agency for disabled individuals and assist

individuals with disabilities with work, training and housing opportunities. Both

Defendants shared the same Chief Executive Officer/President and operate out of

the same facility in Wahiawa, Hawaii. Managerial employees at ORI control and

manage the operations of employees at ORI Anuenue Hale. For example, the

Quality Control Manager at ORI interviewed, hired, organizes meetings/trainings,

possesses disciplinary authority, and controls the work assignments and schedules

of the Claimants, who are employees of ORI Anuenue Hale. Personnel employees

at ORI also undertake human resources functions like processing leave and payroll

for the Claimants. Defendants share the same reasonable accommodation policy

and employment forms, and the Charging Parties’ accommodation requests for

sign language interpreters were made to both managerial and supervisory


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employees at ORI Anuenue Hale and ORI, who possess the authority to determine

whether or not to provide the accommodations requested.

      11.    All of the acts and failures to act alleged herein were duly performed

by and attributable to all Defendants, each acting as a successor, agent, alter ego,

employee, indirect employer, joint employer, integrated enterprise and/or or under

the direction and control of the others, except as specifically alleged otherwise.

Said acts and failures to act were within the scope of such agency and/or

employment, and each Defendant participated in, approved and/or ratified the

unlawful acts and omissions by the other Defendants complained of herein.

Whenever and wherever reference is made in this Complaint to any act by a

Defendant or Defendants, such allegations and reference shall also be deemed to

mean the acts and failures to act of each Defendant acting individually, jointly,

and/or severally.

      12.    Plaintiff is ignorant of the true names and capacities of each

Defendant sued as Does 1 through 5, inclusively, and therefore Plaintiff sues said

defendant(s) by fictitious names. Plaintiff reserves the right to amend the

complaint to name each Doe defendant individually and collectively as they

become known. Plaintiff alleges that each Doe defendant was in some manner

responsible for the acts and omissions alleged herein and Plaintiff will amend the

complaint to allege such responsibility when the same shall have been ascertained


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by Plaintiff.

                         ADMINISTRATIVE PROCEDURES

       13.      More than thirty days prior to the institution of this lawsuit, Charging

Parties Sokunthea Prak, Eulalia Pelep, Joyce Richard-White, Jyra Cutler, and Myer

Alokoa each filed a charge of discrimination with the Commission alleging

violations of the ADA by ORI.

       14.      On September 6, 2019, the Commission issued to Defendants Letters

of Determination finding reasonable cause to believe that Defendants had violated

the ADA and inviting Defendants to join with the Commission in informal

methods of conciliation to endeavor to eliminate the discriminatory practices and

provide appropriate relief.

       15.      The Commission engaged in communications with Defendants to

provide Defendants the opportunity to remedy the discriminatory practices and

provide appropriate relief.

       16.      The Commission was unable to secure from Defendants a conciliation

agreement acceptable to the Commission.

       17.      On January 30, 2020, the Commission issued to Defendants Notices

of Failure of Conciliation.

       18.      All conditions precedent to the institution of this lawsuit have been

fulfilled.


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                          STATEMENT OF CLAIMS

      19.   Since at least 2016, Defendants have engaged in unlawful

employment practices in violation of Sections 102(a) and (b)(5)(A) of Title I of the

ADA, 42 U.S.C. §§12112 (a) and (b)(5)(A). Specifically, Defendants failed to

effectively engage in the interactive process with Claimants and failed to provide

reasonable accommodations for the Claimants’ known disability, deafness,

throughout the duration of their employment.

      20.   Charging Party Myer Alokoa is a qualified individual with a disability

under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8).

Charging Party Myer Alokoa has an impairment, deafness, that substantially limits

the major life activity of hearing. Charging Party Myer Alokoa’s primary language

is sign language. Charging Party Myer Alokoa has been deaf since a young age.

      21.   In 2016, Charging Party Myer Alokoa began working for Defendants

as a janitorial worker. As a janitorial worker, Charging Party Myer Alokoa

primarily cleaned bathrooms, swept, mopped and waxed floors. As part of his

employment, Charging Party Myer Alokoa was required to attend mandatory

employment related meetings, such as staff meetings and safety meetings, on at

least a monthly basis. Charging Party Myer Alokoa was able to perform the

essential functions of his job with or without accommodation throughout the

duration of his employment.


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      22.   Charging Party Myer Alokoa was assigned to work at Department of

Defense facilities at Pearl Harbor and Hickam until he left Defendants’

employment in 2019.

      23.   Charging Party Jyra Cutler is a qualified individual with a disability

under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8).

Charging Party Jyra Cutler has an impairment, deafness, that substantially limits

the major life activity of hearing. Charging Party Jyra Cutler’s primary language is

sign language. Charging Party Jyra Cutler has been deaf since a young age.

      24.   In 2016, Charging Party Jyra Cutler began working for Defendants as

a janitorial worker. As a janitorial worker, Charging Party Jyra Cutler primarily

cleans bathrooms, sweeps, mops and waxes floors. As part of her employment,

Charging Party Jyra Cutler has been required to attend mandatory employment

related meetings, such as staff meetings and safety meetings, on at least a monthly

basis. Charging Party Jyra Cutler has been able to perform the essential functions

of her job with or without accommodation throughout her employment.

      25.   Charging Party Jyra Cutler is currently employed by Defendants.

Charging Party Jyra Cutler has been assigned to work at Department of Defense

facilities at Pearl Harbor and Hickam since 2016.

      26.   Charging Party Sokunthea Prak is a qualified individual with a

disability under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and


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 12111(8). Charging Party Sokunthea Prak has an impairment, deafness, that

 substantially limits the major life activity of hearing. Charging Party Sokunthea

 Prak’s primary language is sign language. Charging Party Sokunthea Prak has

 been deaf since a young age.

       27.    In 2017, Charging Party Sokunthea Prak began working for

 Defendants as a janitorial worker. As a janitorial worker, Charging Party

 Sokunthea Prak primarily cleans bathrooms, sweeps, mops and waxes floors. As

 part of his employment, Charging Party Sokunthea Prak has been required to

 attend mandatory employment related meetings, such as staff meetings and safety

 meetings, on at least a monthly basis. Charging Party Sokunthea Prak has been

 able to perform the essential functions of his job with or without accommodation

 throughout his employment.

       28.    Charging Party Sokunthea Prak is currently employed by Defendants.

 Charging Party Sokunthea Prak has been assigned to work at Department of

 Defense facilities at Pearl Harbor and Hickam since 2017.

       29.    Charging Party Joyce Richard-White is a qualified individual with a

 disability under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and

 12111(8). Charging Party Joyce Richard-White has an impairment, deafness, that

 substantially limits the major life activity of hearing. Charging Party Joyce

 Richard-White’s primary language is sign language. Charging Party Joyce


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 Richard-White has been deaf since a young age.

       30.    In 2018, Charging Party Joyce Richard-White began working for

 Defendants as a janitorial worker. As a janitorial worker, Charging Party Joyce

 Richard-White primarily cleans bathrooms, sweeps, mops and waxes floors. As

 part of her employment, Charging Party Joyce Richard-White has been required to

 attend mandatory employment related meetings, such as staff meetings and safety

 meetings, on at least a monthly basis. Charging Party Joyce Richard-White has

 been able to perform the essential functions of her job with or without

 accommodation throughout her employment.

       31.    Charging Party Joyce Richard-White is currently employed by

 Defendants. Charging Party Joyce Richard-White has been assigned to work at

 Department of Defense facilities at Pearl Harbor and Hickam since 2018.

       32.    Charging Party Eulalia Pelep is a qualified individual with a disability

 under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8).

 Charging Party Eulalia Pelep has an impairment, deafness, that substantially limits

 the major life activity of hearing. Charging Party’s primary language is sign

 language. Charging Party Eulalia Pelep has been deaf since a young age.

       33.    In 2018, Charging Party Eulalia Pelep began working for Defendants

 as a janitorial worker. As a janitorial worker, Charging Party Eulalia Pelep

 primarily cleans bathrooms, sweeps, mops and waxes floors. As part of her


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 employment, Charging Party Eulalia Pelep has been required to attend mandatory

 employment related meetings, such as staff meetings and safety meetings, on at

 least a monthly basis. Charging Party Eulalia Pelep has been able to perform the

 essential functions of her job with or without accommodation throughout her

 employment.

       34.    Charging Party Eulalia Pelep is currently employed by Defendants.

 Charging Party Eulalia Pelep has been assigned to work at Department of Defense

 facilities at Pearl Harbor and Hickam since 2018.

       35.    A class of similarly situated aggrieved individuals exists who, like

 Charging Parties, were or continue to be deaf employees of Defendants and against

 whom Defendants discriminated on the basis of disability by failing to effectively

 engage in the interactive process, failing to provide reasonable accommodations,

 and as a result, depriving the deaf employees the benefits and privileges of

 employment, by requiring them to participate in meetings and communications

 without a means to effectively communicate, including but not limited to,

 providing sign language interpreters.

       36.    Defendants had knowledge of Claimants’ disabilities since at least

 each of the Claimants’ employment interviews.

       37.    Defendants failed to effectively engage in the interactive process and

 failed to provide reasonable accommodations at many of the Claimants’


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 employment interviews and mandatory meetings throughout the Claimants’

 employment with Defendants. Defendants’ failure to effectively engage in the

 interactive process and failure to provide reasonable accommodations includes, but

 is not limited to:

                  a. Defendants were aware that many Claimants needed

                      interpreters at their employment interviews.

                  b. For example, Charging Parties Eulalia Pelep and Myer Alokoa

                      requested for sign language interpreters at their interviews.

                  c. Instead of providing sign language interpreters, Defendants told

                      Charging Parties Eulalia Pelep and Meyer Alokoa to provide

                      their own interpreters or ask a friend to interpret.

                  d. There are notations in Defendants’ interview notes that some

                      Charging Parties have received a rating of “attempts

                      communication, but does fair job at best” and require

                      communication through interpreters.

                  e. As part of the Claimants’ employment, they are required to

                      attend mandatory all-staff meetings where Defendants discuss

                      work safety procedures, work assignments and other work-

                      related information, which are a benefit and privilege of

                      employment. These meetings generally last at least an hour and


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                   are typically held every few months at Defendants’ Wahiawa

                   office or on site at Pearl Harbor/Hickam.

                f. Defendants knew a sign language interpreter would be needed

                   for the Claimants to fully understand the contents of mandatory

                   staff meetings.

                g. On at least one occasion in 2018, Defendants acknowledged

                   they were aware of the need for interpreters for a mandatory

                   meeting but claimed they were unable to schedule one due to

                   the short notice for the meeting.

                h. Instead of providing an interpreter for mandatory staff

                   meetings, Defendants asked other staff members to provide

                   contemporaneous written notes and handouts in written English

                   to the deaf employees and/or asked a deaf employee to provide

                   sign language interpretation to other deaf employees.

                i. In addition to the mandatory all-staff meetings, Claimants are

                   also required to attend smaller on-site staff meetings at Hickam

                   and Pearl Harbor. These meetings are usually held monthly and

                   last about 30 minutes to an hour, and entail discussions of

                   safety issues, professionalism, work protocols and other work-

                   related information by site supervisors.


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                 j. Claimants repeatedly requested sign language interpreters to be

                    provided for these on-site staff meetings from their supervisors

                    and/or the Quality Control Manager.

                 k. Defendants have failed to provide any sign language

                    interpretation for these monthly on-site staff meetings.

                 l. Instead of providing interpreters for these monthly on-site staff

                    meetings, Defendants’ attempts at communicating with

                    Claimants were ineffective. Defendants wrote and continue to

                    write notes for the deaf employees and only provide an

                    opportunity to ask questions after the meetings end, meet with

                    deaf employees after the meetings to discuss the contents of the

                    meetings without interpreters, or ask a deaf employee to sign

                    the information to another deaf employee.

       38.   Defendants controlled the scheduling and timing of all meetings at

 which Claimants needed interpreters.

       39.   After being denied interpreters on multiple occasions, Charging

 Parties Eulalia Pelep, Joyce Richard-White and Jyra Cutler and an employee from

 the State of Hawaii’s Division of Vocational Rehabilitation met with Defendants in

 2018. At this meeting, the deaf employees’ need for interpreters was again

 expressed. After this meeting, Defendants continued to refuse to provide sign


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 language interpreters at subsequent meetings.

       40.    The written notes, handouts and non-professional sign language

 interpretation by deaf employees were ineffective because the Claimants all have

 limited English proficiencies due to their deafness and many Claimants also

 originate from foreign countries like the Federated States of Micronesia, Cambodia

 and Philippines, further resulting in limited English proficiencies.

       41.    Despite being aware of the Claimants’ limited verbal communication

 abilities and English proficiencies, Defendants failed to effectively engage in the

 interactive process to discuss the requests for sign language interpreters or assess

 whether other methods of communicating with the Claimants, including the

 provision of written notes, handouts and sign language interpretation by deaf

 employees who were not licensed sign language interpreters to other deaf

 employees were effective.

       42.    As a result, the Claimants were unable to simultaneously make sense

 of the notes, handouts and non-professional sign language interpretation, and

 engage in the meetings to meaningfully understand what was discussed and ask

 contemporaneous questions like the other non-disabled employees, benefits and

 privileges of employment that the Claimants were deprived of as a result of

 Defendants’ repeated failure to provide effective accommodations, such as sign

 language interpreters, at these meetings.


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        43.       Defendants’ actions, including failing to effectively engage in the

 interactive process and failing to provide reasonable accommodations resulted in

 the denial of benefits and privileges of employment since at least 2016 and

 continuing through each Claimant’s employment and through the present.

        44.       The effect of the practices complained as described in paragraphs 19-

 43 has been to deprive the Charging Parties and a class of similarly aggrieved

 individuals of equal employment opportunities and otherwise adversely affects

 their status as employees because of their disability.

        45.       The unlawful employment practices complained of in paragraphs 19-

 43 above were intentional and caused Charging Parties and a class of similarly

 aggrieved individuals to suffer emotional distress.

        46.       The unlawful employment practices complained of in paragraphs 19-

 43 above were done with malice or with reckless indifference to the federally

 protected rights of Charging Parties and a class of similarly aggrieved individuals.

                                  PRAYER FOR RELIEF

        Wherefore, the Commission respectfully requests that this Court:

        A.        Grant a permanent injunction enjoining Defendants, their officers,

 successors, assigns, and all persons in active concert or participation with each of

 them, from engaging in any employment practices which discriminate on the basis

 of disability;


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          B.   Order Defendants to institute and carry out policies, practices, and

 programs to ensure that they would not engage in unlawful employment practices

 in violation of Sections 102(a) and (b) of the ADA, 42 U.S.C. §§12112(a) and (b);

          C.   Order Defendants to make the Charging Parties and the class of

 similarly aggrieved individuals whole by providing compensation for past and

 future pecuniary losses, including appropriate back pay and front pay with

 prejudgment interest on any lost pay and benefits, in amounts to be determined at

 trial;

          D.   Order Defendants to make the Charging Parties and the class of

 similarly aggrieved individuals whole by providing compensation for past and

 future non-pecuniary losses resulting from the unlawful employment practices

 complained of above, including emotional pain, suffering, inconvenience, mental

 anguish, humiliation and loss of enjoyment of life, in amounts to be determined at

 trial;

          E.   Order each Defendant to pay the Charging Parties and the class of

 similarly aggrieved individuals punitive damages for its intentional, malicious,

 and reckless conduct described above in an amount to be determined at trial;

          F.   Award the Commission its costs of this action; and

          G.   Grant such further relief as the Court deems necessary and proper in

 the public interest.


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                             JURY TRIAL DEMAND

       The Commission requests a jury trial on all questions of fact raised by its

 Complaint.

 Dated: June 24, 2021                  Respectfully Submitted,



                                       GWENDOLYN YOUNG REAMS,
                                       Acting General Counsel

                                       U.S. EQUAL EMPLOYMENT
                                       OPPORTUNITY COMMISSION
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                                 By:
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